                 Case 2:94-cr-00053-LGW-BWC Document 431 Filed 03/12/08 Page 1 of 1
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT                                                           FILED
                                                                     for the                                                          cciuR
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                                                           Southern District of Georgia
                                                                                                                              ci 2 A
                    United States of America                           )
                               V.                                      )
                                                                       ) CaseNo: CR294-00053-005
                           Tyrone Butler
                                                                       ) USM No: 08664-021
Date of Previous Judgment: May 19, 1995                                ) Ronald E. Harrison II
(Use Date of Last Amended Judgment if Applicable)                      ) Defendant's Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

          Upon motion of Dtbe defendant Ethe Director of the Bureau of Prisons Jthe court under 18 u.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u). and having considered such motion,
IT IS ORDERED that the motion is:
              DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                              the last judgment issued) of 290       months is reduced to         time served
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    36                                             Amended Offense Level:      34
Criminal History Category: IH                                             Criminal History Category: III
Previous Guideline Range: 235                    to 293 months            Amended Guideline Range: 188 to 235 months
IL SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
  The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
U Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                  May 19, 1995,       shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 12. 2008                                                L1JIIr a..
                                                                                              udge's signature



Effective Date: March 22, 2008                                            Judge, U.S. District Court
                      (if different from order date)                                       Printed name and title
